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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

TERRANCE RABON and
KATHLEEN RABON                                                                      PLAINTIFFS

v.                                   Case No. 4:16-cv-4007

JOHN K. KIMANI;
TOLYN EXPRESS, LLC; and
JOHN DOES 1-6                                                                     DEFENDANTS


SENTRY SELECT INSURANCE
CO.                                                                               INTERVENOR

                                            ORDER

       Before the Court is Plaintiffs Terrance Rabon and Kathleen Rabon’s Motion for Forthwith

Posting of Supersedeas Bond. (ECF No. 85). Defendants John K. Kimani and Tolyn Express,

LLC have responded. (ECF No. 86). The Court finds the matter ripe for consideration.

       During the week of September 18, 2017, the Court presided over the jury trial of Plaintiffs’

legal claims against Defendants. On September 21, 2017, the jury returned unanimous verdicts in

favor of Plaintiff Terrance Rabon and against Defendants John K. Kimani and Tolyn Express,

LLC, awarding him damages in the amount of $500,000.00.             The jury separately returned

unanimous verdicts in favor of Defendants John K. Kimani and Tolyn Express, LLC, and against

Plaintiff Kathleen Rabon on her claim for loss of consortium. On November 1, 2017, the Court

entered final judgment as to Plaintiffs’ claims against Defendants. On December 1, 2017,

Defendants filed a notice of appeal. (ECF No. 80).

       On December 27, 2017, Plaintiffs filed the instant motion, asking the Court to order

Defendants to post a supersedeas bond in the amount of $500,000.00, pending resolution of

Defendants’ appeal. On January 10, 2018, Defendants responded, indicating that the parties have
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resolved all issues between them. Defendants indicate that they have moved to dismiss their appeal

and have paid the judgment in full to Plaintiffs, and that Plaintiffs would be filing a notice of full

satisfaction of judgment once Defendants’ check clears. As such, Defendants state that the Court

should deny the instant motion as moot.

           Upon consideration, the Court is satisfied that the instant motion is moot. Defendants have

represented to this Court and the Eighth Circuit Court of Appeals that they have resolved all issues

with Plaintiffs, and have moved to dismiss their appeal on that basis. See Motion to Dismiss Case,

Rabon v. Kimani, No. 17-3651 (8th Cir. Jan. 9, 2018). On January 10, 2018, the Eighth Circuit

Court of Appeals granted Defendants’ motion and dismissed their appeal. (ECF No. 87-1). On

January 22, 2018, Plaintiffs filed a notice of satisfaction of judgment, indicating that the

$500,000.00 judgment has been fully discharged and satisfied. (ECF No. 88). Thus, the Court

finds that there is no longer a need for Defendants to post a supersedeas bond pending resolution

of appeal. Accordingly, Plaintiffs’ motion (ECF No. 85) is hereby DENIED AS MOOT. 1

           IT IS SO ORDERED, this 23rd day of January, 2018.

                                                                          /s/ Susan O. Hickey
                                                                          Susan O. Hickey
                                                                          United States District Judge




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    The Court notes that Intervenor Sentry Select Insurance Company’s claims against Plaintiffs remain in this case.

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